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                                       IN THE
                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CHRISTINA BUTTERFIELD, as                             )
Independent Administrator of the Estate of            )
DAVID BUTTERFIELD, deceased                           )       No.
                                                      )
               Plaintiff,                             )
                                                      )
vs.                                                   )
                                                      )
NICOLE LASAK ,                                        )       JURY DEMANDED
                                                      )
               Defendant.                             )

                                          COMPLAINT

                                          JURISDICTION

       1.      The jurisdiction of the court is invoked pursuant to the Civil Rights Act, 42

U.S.C. sections 1983 et seq. and 1988; the Judicial Code, 28 U.S.C. sections 1331, and 1343(a);

and the Constitution of the United States.

                                             PARTIES

Plaintiff

       2.      Plaintiff, Christina Butterfield, was the wife of the deceased, David Butterfield, on

the day of this death. Christina Butterfield was appointed the Independent Administrator of

David Butterfield’s Estate on July 18, 2016, by the Circuit Court of Lake County, Probate

Division. Christina Butterfield brings this action as the Independent Administrator of David

Butterfield’s estate. At all relevant times, the plaintiff and the deceased lived in Lake County,

Illinois, at 3455 Sheridan, Road, Zion.



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       3.      David Butterfield was also survived by a minor daughter, Krista Butterfield.

Defendants

       4.      Defendant, Nicole Lasak, was, at all relevant times, an Illinois resident and the

Director of Nursing for Armor Correctional Health Services, Inc., at the Lake County Sheriff’s

Office Adult Correctional Facility in Waukegan, Illinois (“Lake County Jail”), in Waukegan,

Illinois. She was, at all relevant times, engaged in the conduct complained of in the course and

scope of her employment with Armor Correctional Health Services, Inc. (“Armor”), and acting

under color of law. She is being sued in her individual capacity.

       5.      Armor was, at all relevant times, a Florida corporation, doing business in Illinois.

Armor contracted with the Lake County Jail on or about June 1, 2015, to provide medical

services, through its employees, servants and/or agents, to several juvenile and adult Lake

County facilities, including the Lake County Jail inmates.

       6.      On or about February 29, 2016, decedent David Butterfield (“Butterfield”), was

arrested for an alleged violation of his probation of a previously negotiated plea of guilt of a

Class A misdemeanor.

       7.      Butterfield was taken into custody on February 29, 2016, by the Lake County

Sheriff’s Department and transported to the Lake County Jail in Waukegan, Illinois.

        8.     On February 29, 2016, Butterfield was admitted to the Lake County Jail, and

placed in the jails medical unit on that date.

       9.      Butterfield remained in the Lake County Jail Medical Unit, under the control,

supervision, direction and at the mercy of Defendant Lasak, until the morning of his death on

March 4, 2016.


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       10.     Butterfield died of peritonitis, determined post mortem to be a massive infection

in his abdominal cavity. Prior to his death, Butterfield’s stomach would have been extremely

painful, distended and would have caused him obvious discomfort observable by Defendant

Lasak as well as any other any person that would have viewed or monitored him.

       11.     It was Armor’s policy to refer all detainees with moderate to severe abdomen pain

to a hospital emergency department.

       12.     At all relevant times, Defendant Lasak was the Director of Nursing at the Lake

County Jail and she was responsible, in part, for diagnosing, providing treatment, authorizing

treatment and/or authorizing Butterfield’s transfer to a hospital emergency department.

       13.     Defendant Lasak, knowing her actions created a strong likelihood of death or

great bodily harm to Butterfield, failed to, or refused to send him to the hospital for treatment

between the dates of February 29, 2016, and his death on March 4, 2016.

       14.     Defendant Lasak acted with deliberate indifference toward Butterfield’s serious

and life threatening physical symptoms and/or condition where his symptoms and/or condition

required immediate treatment and/or hospitalization, and Lasak refused to provide the necessary

treatment and/or hospitalization.

       15.     Butterfield had serious life threatening medical needs while in custody at the Lake

County Jail, that were nevertheless readily treatable.

       16.     Despite Defendant Lasak’s knowledge of Butterfield’s condition and Armor’s

rules and procedures regarding abdomen pain, Lasak acted with deliberate indifference towards

Butterfield’s serious medical needs through her conscious disregard of the substantial risk to

Butterfield’s health and safety through her deliberate failure to take measures to properly treat


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Butterfield. Specifically, Defendant Lasak she failed to provide Butterfield with the proper

testing to determine the appropriate treatment for Butterfield; and/or failed to provide Butterfield

with the requisite treatment for his severe symptoms and/or condition; and she failed to authorize

his transfer to a hospital emergency department in contradiction of her employer’s rules and

protocols.

         17.    Defendant Lasak’s acts and/or omissions, as to David Butterfield, we done with

deliberate indifference and resulted in the depriving Butterfield of the protection from the Eighth

and/or Fourteenth Amendments of the United States Constitution.

         18.    These acts and omissions by Defendant Lasak proximately caused David

Butterfield to suffer both physical and psychological injuries, including but not limited to, pain,

humiliation, and suffering, from the time Butterfield entered the county jail medical unit until his

death.

         19.    The acts and omissions by the Defendant Lasak proximately caused the death of

David Butterfield.

         20.    David Butterfield’s estate has made repeated request from both Defendant Armor

and the Lake County Sheriff for David Butterfield’s medical and jail records for the relevant

period of time and each of those request have been denied, and continue to be denied.

         WHEREFORE, the plaintiff, Christina Butterfield, as Independent Administrator of the

Estate of David Butterfield, deceased, demands substantial compensatory damages against the

Defendant Nicole Lasak for the decedent's physical pain, humiliation, psychological suffering,

emotional pain and suffering as well as his death, resulting in posthumous medical expenses,

loss of consortium, grief and sorrow for his family. Additionally, because the defendants acted


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maliciously, wilfully, wantonly, and/or in reckless disregard for the decedent's constitutional

rights, plaintiff demands substantial punitive damages from these defendants, as well as costs,

attorneys fees, and whatever additional relief this Court deems equitable and just.

Plaintiff demands a trial by jury.



                                                      s/ Dennis J. DeCaro



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